            Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 1 of 17




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              :
UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :      No. 21-CR-507 (PLF)
                                              :
STEPHANIE M. BAEZ,                            :
                                              :
       Defendant.                             :


                 UNITED STATES’ OPPOSITION TO DEFENDANT’S
               MOTION TO DISMISS ON FIRST AMENDMENT GROUNDS


       The United States of America respectfully submits this opposition to Stephanie M. Baez’s

motion to dismiss all counts of the information. ECF No. 28. Baez advances three main arguments

and grounds for dismissal. First, she argues that Count One “does not state an offense under federal

law upon which any relief can be granted” and “must be dismissed.” Id. at 4. Second, she argues

that Counts Two and Three “simply do not state valid criminal claims in the context of people

demonstrating and expressing their views at the U.S. Capitol in accordance with the 1st

[A]mendment.” Id. at 7. Both challenges can be consolidated into a single allegation that as to

Counts One, Two, and Three, the government failed to state an offense. Third, Baez argues that

Count Four should be dismissed because it “is unconstitutional both on its face and as applied to

the alleged conduct of defendant Baez.” Id. at 11. Each of Baez’s proffered grounds for dismissal

lacks merit and this Court should deny the defendant’s motion.

                                    I.      BACKGROUND

       At 1:00 p.m., on January 6, 2021, a Joint Session of the United States Congress, consisting

of the House of Representatives and the Senate, convened in the Capitol Building. The Joint

Session assembled to debate and certify the vote of the Electoral College of the 2020 Presidential
         Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 2 of 17




Election. With the Joint Session underway and with Vice President Michael Richard Pence

presiding, a large crowd gathered outside the U.S. Capitol. “The mob [ . . . ] scaled walls, smashed

through barricades, and shattered windows to gain access to the interior of the Capitol,” with the

first rioters entering shortly after 2:00 p.m. Trump v. Thompson, 20 F.4th 10, 10 (D.C. Cir. 2021).

       Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate, including

the President of the Senate, Vice President Pence, were instructed to—and did—evacuate the

chambers. The siege of the Capitol lasted for several hours and represented a violent attack that

forced an interruption of Congress’s certification of the 2020 Electoral College vote count,

threatened the peaceful transfer of power after the 2020 Presidential election, injured more than

one hundred police officers, and resulted in more than 2.7 million dollars in damage and losses.

The siege of the U.S. Capitol on January 6, 2021, was “the most significant assault on the Capitol

since the War of 1812.” Trump, 20 F.4th at 18-19.

       A.      “I just came out [to Washington, D.C.] alone to fight Antifa.”

       United States Capitol Police (USCP) closed-circuit video (CCV) shows Baez entering the

U.S. Capitol twice. The first time was at approximately 2:56 p.m. when she entered through a fire

door—the window of which had been previously broken out to achieve the breach—on the north

side of the NW Plaza of the Capitol. At approximately 2:59 p.m., police officers pushed rioters out

of that hallway and back into the NW Plaza. USCP CCV shows rioters waving for others who are

trying to get in to move out of the way and allow them to exit. There is a bottleneck, and a

considerable amount of jostling occurs. Baez can be seen getting violently shoved around from

multiple directions. She finally gets out of the Capitol at 3:01 p.m.

       At approximately 3:07 p.m., USCP CCV shows Baez reentering the Capitol through the

Senate Wing Door on the east side of the NW Plaza. The door itself had by that time been violently

breached twice, and the two windows flanking the door were broken out with rioters climbing into
                                                  2
         Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 3 of 17




and out of them. Baez walked from this entry point south to the Crypt, and she remained there until

she was escorted out by police officers. The officers led Baez and other rioters out of the Capitol

and into the East Plaza via a door known as the Memorial Door. At approximately 3:24 p.m., Baez

left the Capitol for the second time.

       On January 6, 2021, the FBI already started receiving tips that an Instagram account

associated with Baez was posting videos from inside the U.S. Capitol on January 6, 2021. ECF

No. 1-1, p. 2. In a non-custodial interview that took place on April 27, 2021, Baez admitted to

being in Washington, D.C., on January 6, 2021. Id. at 6. She also admitted to being inside of the

U.S. Capitol. Id. Baez stated that the purpose of her visit was to attend former president’s rally and

to look at medical schools, although in a social media message sent January 5, 2021, she stated

“fight antifa” as her reason for being there. Id. at 7. In another publicly available video, while on

Capitol grounds, Baez claimed that she was there to meet a Proud Boy and gave out her Instagram

handle. Id. at 2-3. After leaving the Capitol, Baez described herself as a “revolutionary,” “so proud

[of herself],” and described her participation in the riot as “her proudest moment.” Id. at 11-12. In

describing the other rioters, Baez stated that, “Americans fought back against the actual

government.” Id. at 8. Baez maintained at the time that “[she and other rioters] are legally allowed

into the Capitol Building,” and that “[she] checked and technically American citizens are allowed

into the Capitol Building ANY TIME that congress is speaking.” ECF No. 1-1, pp. 11-12.

       Baez is charged by information with: (1) Entering and Remaining in a Restricted Building

in violation of 18 U.S.C. § 1752(a)(1); (2) Disorderly and Disruptive Conduct in a Restricted

Building or Grounds in violation of 18 U.S.C. § 1752(a)(2); (3) Violent Entry and Disorderly

Conduct in a Capitol Building in violation of 40 U.S.C. § 5104(e)(2)(D); and (4) Parading,




                                                  3
         Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 4 of 17




Demonstrating, or Picketing in a Capitol Building in violation of 40 U.S.C. § 5104(e)(2)(G). ECF

No. 10. This case is set for trial on November 29, 2022. ECF No. 26, p. 7.

                                  II.     LEGAL STANDARD

       A.      The Failure to State an Offense Challenge—Counts One, Two, and Three

       A defendant may move before trial to dismiss an information, or a count thereof, for

“failure to state an offense.” See Fed. R. Crim. P. 12(b)(3)(B)(v). The main purpose of a charging

document, such as an indictment or (as here) an information, is to inform the defendant of the

nature of the accusation. See United States v. Ballestas, 795 F.3d 138, 148-149 (D.C. Cir. 2015)

(discussing purpose of an indictment). Thus, an information need only contain “a plain, concise,

and definite written statement of the essential facts constituting the offense charged.” Fed. R. Crim.

P. 7(c)(1). A charging document is sufficient under the Constitution and Federal Rule of Criminal

Procedure 7 if it “contains the elements of the offense charged and fairly informs a defendant of

the charge against which he must defend,” Hamling v. United States, 418 U.S. 87, 117 (1974),

which may be accomplished by “echo[ing] the operative statutory text while also specifying the

time and place of the offense,” United States v. Williamson, 903 F.3d 124, 130 (D.C. Cir. 2018).

“[T]he validity of an indictment ‘is not a question of whether it could have been more definite and

certain.’” United States v. Verrusio, 762 F.3d 1, 13 (D.C. Cir. 2014) (quoting United States v.

Debrow, 346 U.S. 374, 378 (1953)). And a charging document need not inform a defendant “as to

every means by which the prosecution hopes to prove that the crime was committed.” United States

v. Haldeman, 559 F.2d 31, 124 (D.C. Cir. 1976).

       When assessing the sufficiency of criminal charges before trial, an information “must be

viewed as a whole and the allegations [therein] must be accepted as true.” United States v.

Bowdoin, 770 F. Supp. 2d 142, 145 (D.D.C. 2011)). The “key question” is whether the allegations



                                                  4
            Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 5 of 17




“if proven, are sufficient to permit a petit jury to conclude that the defendant committed the

criminal offense as charged.” Id.

       Judge Bates, in a recent memorandum opinion, recognized that there are two ways in which

an information may fail to state an offense. First, “if the charged statutory provision is

unconstitutional,” and second, “if the offense charged does not apply to the defendant’s conduct.”

United States v. Nassif, 21-CR-421, ECF No. 42, p. 3 (Sept. 12, 2022) (Bates, J.) (citations

omitted).

       B.       The Facial and As-Applied Constitutional Challenge—Count Four

       In the First Amendment context, “[f]acial challenges are disfavored.” Washington State

Grange v. Washington State Republican Party, 552 U.S. 442 450 (2008). “To succeed in a typical

facial attack, [a defendant] would have to establish that no set of circumstances exists under which

[a statute] would be valid [ . . . ] or that the statute lacks any plainly legitimate sweep.” United

States v. Stevens, 559 U.S. 460, 472 (2010) (cleaned up). The Supreme Court recognizes a second

type of facial challenge when dealing with First Amendment issues, whereby a law may be

invalidated as overbroad if a substantial number of its applications are unconstitutional, judged in

relation to the statute’s plainly legitimate sweep.” Id. at 473 (cleaned up). The Supreme Court has

recognized that to rule a statute as facially unconstitutional is “strong medicine” that it has

employed “with hesitation, and then only as a last resort.” L.A. Police Dep’t v. United Reporting

Publ’g Corp., 528 U.S. 32, 39 (1999) (cleaned up). In a so-called “as-applied” challenge, the

defendant would necessarily show that even if there are no constitutional issues with the statute

as-written, it could still “be applied in such a manner as to stifle free expression.” Thomas v. Chi.

Park Dist., 534 U.S. 316, 323 (2002).




                                                 5
         Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 6 of 17




       C.      The Forum Based Approach to Restrictions on Government Property

       When assessing restrictions that the government seeks to place on the use of its own

property, the Supreme Court has been consistent in holding that “the First Amendment does not

guarantee access to property simply because it is owned or controlled by the government.” United

States Postal Serv. v. Council of Greenburgh Civic Ass’ns, 453 U.S. 114, 129 (1981).” First, one

must establish if the government property in question is a public forum—one that “has traditionally

been available for public expression”; or a designated public forum—one that the government “has

opened for expressive activity by part or all of the public.” Int’l Soc’y for Krishna Consciousness

v. Lee, 505 U.S. 672, 678 (1992). Restrictions on both public and limited public forums are

scrutinized using strict scrutiny. Id. By contrast, a nonpublic forum is “a space that a space that is

not by tradition or designation a forum for public communication.” Minn. Voters All. v. Mansky,

138 S. Ct. 1876, 1885 (2018). For nonpublic forums, restrictions must simply be “reasonable” and

“not an effort to suppress expression.” Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 460

U.S. 37, 46 (1983). Examples of nonpublic forums include airport terminals, Int’l Soc’y for

Krishna Consciousness, 505 U.S. at 683; polling places on election day, Minn. Voters All., 138 S.

Ct. at 1886; and—notably for this analysis—the inside of the United States Capitol. Bynum v.

United States Capitol Police Bd., 93 F. Supp. 2d 50, 56 (D.D.C. 2000) (Friedman, J.).

                                       III.    ARGUMENT

       A.      The Information Adequately States an Offense in Counts One, Two, and Three

       Count One of the information alleges that, in violation of 18 U.S.C. § 1752(a)(1), “On or

about January 6, 2021, in the District of Columbia, STEPHANIE MARYLOU BAEZ, knowingly

entered and remained in the United States Capitol, a restricted building, without lawful authority

to do so.” ECF No. 10, p. 1. The elements of Count One are:



                                                  6
         Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 7 of 17




       1)      The defendant entered or remained in a restricted building or grounds without
               lawful authority to do so.

       2)      The defendant did so knowingly.

       Count Two of the information alleges that, in violation of 18 U.S.C. § 1752(a)(2),

       On or about January 6, 2021, in the District of Columbia, STEPHANIE MARYLOU
       BAEZ, knowingly, and with intent to impede and disrupt the orderly conduct of
       Government business and official functions, engaged in disorderly and disruptive conduct
       in, and within such proximity to the United States Capitol, a restricted building, when, and
       so that, such conduct did in fact impede and disrupt the orderly conduct of Government
       business and official functions.

Id. The elements of Count Two are:

       1)      The defendant engaged in disorderly or disruptive conduct in, or in proximity to,
               any restricted building or grounds;

       2)      The defendant did so knowingly, and with the intent to impede or disrupt the orderly
               conduct of Government business or official functions;

       3)      The defendant’s conduct occurred when, or so that, his conduct in fact impeded or
               disrupted the orderly conduct of Government business or official functions.

       Count Three of the information alleges that, in violation of 40 U.S.C. § 5104(e)(2)(D),

       On or about January 6, 2021, in the District of Columbia, STEPHANIE MARYLOU
       BAEZ, did willfully and knowingly engage in disorderly and disruptive conduct at any
       place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt,
       or disturb the orderly conduct of a session of Congress or either House of Congress, or the
       orderly conduct in that building of a hearing before, or any deliberations of, a committee
       of Congress or either House of Congress.

Id. The elements of Count Three are:

       1)      The defendant engaged in disorderly or disruptive conduct in any of the United
               States Capitol Buildings;

       2)      The defendant did so with the intent to impede, disrupt, or disturb the orderly
               conduct of a session of Congress or either House of Congress;

       3)      The defendant acted willfully and knowingly.

       The information therefore includes the elements of the offense for all three offenses. The

Counts of the information “echo[ ] the operative statutory text while also specifying the time and



                                                    7
          Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 8 of 17




place of the offense,” United States v. Williamson, 903 F.3d 124, 130 (D.C. Cir. 2018). Counts

One, Two, and Three “fairly inform” Baez of the charges against which she must defend, and that

it stems from her conduct on January 6, 2021, in the District of Columbia. Hamling, 418 U.S. at

117. “No more is required.” Nassif, 21-CR-421 (JDB) at 15.

       B.      The Argument That Baez (And All) Have an Unfettered Right to Enter the U.S.
               Capitol Without Permission Lacks Merit

       Baez asserts she should have unfettered access to the United States Capitol. Nonetheless,

Baez asserts, without citation to any kind of authority, “the U.S. Capitol must be the most

accessible to the citizenry” and that of all the places in America, it is at the U.S. Capitol that the

“government has the least authority to restrict citizen presence, petitioning, demonstrating, and

activism.” ECF No. 28, p. 1 (emphasis in original). Immediately after recognizing that her rights

and duties “to watch and monitor doings inside the Capitol may be subject to reasonable

restrictions,” Baez asserts that her “right to enter the Capitol is not subject to the permission, will,

or discretion of the government.” Id. at 4 (emphasis in original). None of the cases in the

subsequent string-cite stand for such a broad-sweeping proposition.

       In fact, as this Court concluded in Bynum, the Capitol building is a nonpublic forum. For

one thing, government “ownership of property does not automatically open that property to the

public.” Kokinda, 497 U.S. at 725. And notwithstanding occasional access to the Capitol building

by members of the public, the building is “not open to meetings by the public at large,” and thus

not generally “open to the public for limitless expression.” Bynum, 93 F. Supp.2d at 56. In short,

“Congress has not opened the Capitol as a public forum for free and open public discourse.” Id.

That was especially true on January 6, 2021, when security precautions for the Joint Session and

the upcoming presidential inauguration and the ongoing global pandemic meant that the Capitol

building was not open to the public at large.


                                                   8
         Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 9 of 17




       The undated screenshot from what appears to be the U.S. Capitol’s website that Baez

includes in her motion does not undermine that straightforward analysis. Although there are no

captures of the site from on January 6, 2021, the Wayback Machine—a digital snapshot of various

sites on the World Wide Web—captured how the U.S. Capitol’s website looked on December 25,

2020,1 and January 7, 2021,2 and how it appeared on those two dates is identical.

       While Baez’s screenshot is generally accurate, it does not show the whole picture. For

example, just above the text “U.S. Capitol Visitor Center / Plan A Visit / Travel and Guidelines /

Visitor Hours & Info” is the following notice:




Image 1—A portion of a screenshot from the U.S. Capitol website as it appeared on December 25, 2020,
and January 7, 2021.

       Anyone looking at the U.S. Capitol’s website prior to January 6, 2021, would have seen a

large notice advising of the “COVID-19 (coronavirus) Update,” specifically that, “The Capitol

Visitor Center is closed for tours. All tours are cancelled. We regret any inconvenience this may

cause you, and we look forward to welcoming you to the Capitol Visitor Center at a future date.”

       Just below where Baez’s proffered screenshot cuts off, another section, titled “Admission

and Passes” begins.




1
  http://web.archive.org/web/20201225000110/https://www.visitthecapitol.gov/plan-visit/visitor-
hours-info
2
  http://web.archive.org/web/20210107054455/https://www.visitthecapitol.gov/plan-visit/visitor-
hours-info

                                                 9
         Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 10 of 17




Image 2—A portion of a screenshot from the U.S. Capitol website as it appeared on December 25, 2020,
and January 7, 2021.

       The text of this section clearly states that “passes are required for tours of the historic

Capitol.” While it does qualify that by saying they “may be needed for other special events,” it

immediately states with no ambiguity that “All visitors to the Capitol are required to go through

security screening.” The words “security screening” are a hyperlink, and when clicked, the site

redirects the viewer to a page regarding “Prohibited Items.” 3 Some of the prohibited items include

liquid, including water, and food or beverages of any kind, including fruit and unopened packaged

food. Finally, back on the main page, there is a section entitled Capitol Etiquette Information,

which reads, “To ensure that everyone has an enjoyable visit to the Capitol, we ask that all visitors

adhere to the Capitol Etiquette guidelines.” The words “Capitol Etiquette” comprise another

hyperlink that, when clicked takes the viewer to a website4 that outlines in detail the dos-and-

don’ts of “entering the Capitol Visitor Center.” One clearly visible request on the website advises


3
 http://web.archive.org/web/20210107054423/https://www.visitthecapitol.gov/plan-
visit/prohibited-items
4
  http://web.archive.org/web/20210107004802/https://www.visitthecapitol.gov/plan-visit/capitol-
etiquette

                                                 10
        Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 11 of 17




would-be visitors, “The Capitol is a working office building. Therefore, you are expected to dress

appropriately and behave in a respectful manner in this business environment.” In short, the

website confirms that the Capitol was (and remains) a nonpublic forum.

       C.      Any Constitutional Argument Regarding Counts One, Two, and Three is
               Undeveloped and May Be Disregarded by This Court

       Regarding Counts One, Two, and Three, Baez mentions the First Amendment a few times

but never describes the framework under which this Court should analyze her request for relief. In

her arguments against Count One, Baez mentions the First Amendment twice and her right and

duty to have unfettered access to the Capitol’s interior twice more, but beyond that there is no on-

point caselaw or legal analysis to support these meritless claims.

       These failures mean that Baez has not properly developed claims for this Court’s

consideration. The D.C. Circuit has regularly disregarded claims or arguments when a movant fails

to adequately develop a claim and when they assert but fail to properly analyze a claim. See Barot

v. Embassy of Zambia, 773 F. App’x 6, 6 (D.C. Cir. 2019) (“The court declines to consider the

other cursory arguments raised by appellant regarding this claim.”); SEC v. Banner Fund Int’l, 211

F.3d 602, 613, (D.C. Cir. 2000) (noting that the court may disregard “asserted but unanalyzed”

arguments); Cement Kiln Recycling Coal. v. EPA, 255 F.3d 855, 869 (D.C. Cir. 2001) (“A litigant

does not properly raise an issue by addressing it in a cursory fashion with only bare-bones

arguments.” (internal quotation marks and citations omitted)). The same result is warranted here.

       In her arguments against Counts Two and Three, Baez cites more caselaw, but they do little

to frame the legal issue or advance her claims thereupon. She does not identify whether the

challenge is facial or as applied. She does not make a claim as to whether the statute as written is

content based or content neutral. She does not identify whether the U.S. Capitol is a public forum,

a designated/limited public forum, or a nonpublic forum. She does not ask this Court to apply


                                                11
         Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 12 of 17




either strict scrutiny or the reasonableness standard. She simply asserts her belief that, on January

6, 2021, she “had a right to walk inside the Capitol [twice—both times through a broken door with

alarms blaring and rioters engaged in various violent and destructive acts], to express her opinions

and communicate her grievances.” ECF No. 28, p. 6. No precedent supports this broad claim. This

Court need therefore go no further and should deny Baez’s request for dismissal of Counts One,

Two, and Three.

       D.      Baez’s Claim is Premature

       Baez argues that each of the statutory provisions charged in the information constitutes an

impermissible restriction on speech in a public place. Id. at 1-11. That claim is premature because

it requires an analysis of Baez’s conduct, which is not before the Court at this stage in this case.

       Baez advances the blanket assertion that any violation of 18 U.S.C. §§ 1752(a)(1),

1752(a)(2), or 40 U.S.C. §§ 5104(e)(2)(D), 5104(e)(2)(G) necessarily involves speech or conduct

protected by the First Amendment. To be sure, certain conduct “such as picketing or

demonstrating” may be so closely associated with speech as to warrant First Amendment

protection, see Virginia v. Hicks, 539 U.S. 113, 124 (2003), at least where the picketing is

“peaceful.” See United States v. Grace, 461 U.S. 171, 176 (1983). But no evidence of Baez’s

precise conduct is before the Court; the record consists of the allegations in the information. Baez

may raise in a pretrial motion “any defense, objection, or request that the court can determine

without a trial on the merits.” Fed. R. Crim. P. 12(b)(1) (emphasis added). It follows that Rule 12

“does not explicitly authorize the pretrial dismissal of an indictment on sufficiency-of-the-

evidence grounds” unless the government “has made a full proffer of evidence” or the parties have

agreed to a “stipulated record,” United States v. Yakou, 428 F.3d 241-42, 246-47 (D.C. Cir. 2005)

(emphasis added)—neither of which has occurred here. Indeed, “[i]f contested facts surrounding

the commission of the offense would be of any assistance in determining the validity of the motion,
                                                 12
        Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 13 of 17




Rule 12 doesn’t authorize its disposition before trial.” United States v. Pope, 613 F.3d 1255, 1259

(10th Cir. 2010); see Yakou, 428 F.2d at 246-47 (“There is no federal criminal procedural

mechanism that resembles a motion for summary judgment in the civil context”).5 No record of

the defendant’s conduct yet exists in this case, which involves Baez’s participation in a siege at

the United States Capitol that involved significant violence against police officers and forced

lawmakers meeting in a joint Session to evacuate from their respective chambers.6 This Court

should therefore deny her First Amendment challenge as premature.

       E.      Baez’s First Amendment Challenge to 40 U.S.C. § 5104(e)(2)(G) Fails

       Baez’s more targeted attack on 40 U.S.C. § 5104(e)(2)(G), which prohibits knowing and

willful demonstrating, parading, and picketing in a Capitol building, also fails. More than 20 years

ago, this Court recognized that “the expression of ideas inside the Capitol may be regulated in

order to permit Congress peaceably to carry out its lawmaking responsibilities and to permit

citizens to bring their concerns to their legislators. There are rules that members of Congress must

follow, as well as rules for their constituents.” Bynum v. United States Capitol Police Bd., 93 F.

Supp. 2d 50, 55 (D.D.C. 2000). Baez offers no compelling reason to deviate from that sensible

conclusion.

       A First-Amendment challenge involves three steps. First, the speech or conduct at issue

must be protected under the First Amendment. Cornelius v. NAACP Legal Defense and Education

Fund, Inc., 473 U.S. 788, 797 (1985). If so, the analysis then turns to the forum analysis described


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  Baez’s reliance on First Amendment challenges in civil cases is accordingly flawed. The cross-
motions for summary judgment at issue in Lederman v. United States, 89 F. Supp. 2d 29 (D.D.C.
2000), identified “undisputed.” id. at 30, facts showing that the plaintiff sought to distribute
leaflets, id. at 31, a practice long recognized as falling within the ambit of the First Amendment.
See Grace, 461 U.S. at 176.
6
 For this reason, Baez’s apparent argument that her conduct is protected under Brandenburg v.
Ohio, 395 U.S. 444 (1969) is also premature. ECF No. 28 at 5-7.

                                                13
         Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 14 of 17




above. The third step “assess[es] whether the justification for exclusion from the relevant forum

satisfies the requisite standard.” Cornelius, 473 U.S. at 797.

       As described above, Baez’s claim founders at the first step because she fails to establish

beyond cursory arguments that her case involves speech or conduct protected by the First

Amendment. On the one hand, to the extent Baez seeks to argue that Section 5104(e)(2)(G)

contravenes the First Amendment, she must do after trial. See United States v. Kokinda, 497 U.S.

720, 724-25 (1990). In Kokinda, two defendants were prosecuted for violating a United States

Postal Service regulation that prohibited soliciting contributions outside of a post office. Id. at 723.

As Baez does here, they advanced a First Amendment claim, namely, that the regulation was an

impermissible restriction in a public forum—the sidewalk outside the post office. Id. at 724. But

they pressed that claim after trial in which the presentation of evidence established precisely the

defendants’ conduct, where it took place, and relevant facts about the sidewalk outside the post

office. Id. at 724-25. Because, by contrast, Baez’s First Amendment challenge is premature, this

Court should “go no further.” Cornelius, 473 U.S. at 797.

       In any event, Baez’s apparent First Amendment claim—that the Capitol building should

be considered a public forum—lacks merit. Baez cites no precedent in which a building

comparable in form or function to the U.S. Capitol has been found to be a public forum. As

discussed above, a nonpublic forum is one to which the government does not “grant general

access.” Id. at 803. This Court’s conclusion in Bynum that the Capitol building is correct for the

reasons described above.

       Baez’s counterarguments are flawed. She relies principally on Lederman v. United States,

89 F. Supp. 2d 29 (D.D.C. 2000), to contend that the Capitol building is a public forum. But

Lederman involved a challenge to a Capitol Police regulation of conduct, the alleged violation of



                                                  14
         Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 15 of 17




which occurred on the Capitol grounds but outside the Capitol building. Baez’s characterization

of her unfettered right to enter the Capitol building does not undermine the government’s

“legitimate interest in ensuring that the activities of Congress proceed without disruption.” Bynum,

93 F. Supp. 2d at 56.

       Moreover, this court explicitly concluded that 40 U.S.C. § 5104(e)(2)(G), is viewpoint

neutral and a reasonable regulation of a nonpublic forum (i.e., the Capitol). Congress, in 40 U.S.C.

§ 5104(e)(2)(G) reasonably took aim at conduct that disrupts its orderly business, Bynum, 93 F.

Supp. 2d at 58, and did so in a viewpoint neutral manner. At least two other courts in this district

have concurred with the court’s analysis in Bynum. See United States v. Nassif, 21-CR-421 (JDB),

ECF No. 42, pp. 3-11 (Bates, J.) (denying defendant’s motion to dismiss 40 U.S.C. § 5104(e)(2)(G)

count on First Amendment grounds); United States v. Seitz, 21-CR-279 (DLF), ECF No. 51

(Friedrich, J.) (same).

       The same analysis applies to 18 U.S.C. §§ 1752(a)(1), 1752(a)(2), and 40 U.S.C.

§ 5104(e)(2)(D). First, 18 U.S.C. § 1752(a) prohibits certain conduct inside a restricted area—

restricted given the presence of a United States Secret Service protectee—without lawful authority.

For reasons like those discussed above and in Bynum, the government is within its rights to

maintain restricted areas as nonpublic fora. Moreover, neither Section 1752(a)(1) nor Section

1752(a)(2) target speech: the former is a trespass prohibition, while the latter covers disorderly and

disruptive conduct. Similarly, Section 5104(e)(2)(D) as charged here covers only disorderly and

disruptive conduct in the nonpublic Capitol building.7




7
  To the extent Baez also presses a vagueness challenge, that fails because none of the statutes is
so vague as to merit being “held invalid on its face merely because it is possible to conceive of a
single impermissible application.” Houston v. Hill, 482 U.S. 451, 458 (1987) (quoting Broadrick
v. Oklahoma, 413 U.S. 601, 630 (1973) (Brennan, J., dissenting)).
                                                 15
        Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 16 of 17




                                  IV.     CONCLUSION

       For the foregoing reasons, the Government respectfully requests that Baez’s Motion to

Dismiss on Failure to State First Amendment Grounds be denied.

                                                  Respectfully submitted,

                                                  MATTHEW M. GRAVES
                                                  United States Attorney
                                                  D.C. Bar No. 481052



                                                  SEAN P. MURPHY
                                                  Assistant United States Attorney
                                                  D.C. Bar No. 1187821
                                                  Torre Chardon, Suite 1201
                                                  350 Carlos Chardon Ave.
                                                  San Juan, PR 00918
                                                  787-766-5656
                                                  sean.murphy@usdoj.gov

                                                  SONIA MITTAL
                                                  Illinois Bar No. 6314706
                                                  Assistant United States Attorney
                                                  601 D Street NW
                                                  Washington, DC 20001
                                                  Tel. (202) 821-9470
                                                  sonia.mittal@usdoj.gov




                                             16
        Case 1:21-cr-00507-PLF Document 31 Filed 09/16/22 Page 17 of 17




                               CERTIFICATE OF SERVICE

        On this 16th day of September 2022, a copy of the foregoing was served upon all parties
listed on the Electronic Case Filing (ECF) System.

                                                   /s/ Sean P. Murphy
                                                   SEAN P. MURPHY
                                                   Assistant United States Attorney




                                              17
